
574 S.E.2d 681 (2002)
356 N.C. 613
In the Matter of Dana James HODGE.
No. 555P02.
Supreme Court of North Carolina.
December 19, 2002.
Marty E. Miller, Cary, for Hodge.
Lisa Granberry Corbett, Assistant Attorney General, for State.
Prior report: ___ N.C.App. ___, 568 S.E.2d 878.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Respondent (Hodge) in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 19th day of December 2002."
Upon consideration of the petition filed by Respondent (Hodge) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 19th day of December 2002."
